                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )       Criminal No. 3:10-00250
                                                    )       Judge Trauger
MATTHEW PAUL DEHART                                 )

                                           ORDER

       A supplemental hearing on the defendant’s Motion to Compel was held on June 28, 2012.

The parties announced at the beginning of the hearing that all matters had been successfully

resolved or are being worked on amicably between them. By agreement, it is hereby

ORDERED that the defendant’s Motion to Compel (Docket No. 68) is DENIED AS MOOT.

       It is so ORDERED.

       ENTER this 28th day of June 2012.


                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                            U.S. District Judge




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